                Case 2:22-cv-00037-MMB Document 1 Filed 01/06/22 Page 1 of 7




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

LOU BRODER AND                                           :
PAULA BRODER, h/w                                        :
                                                         :       CIVIL ACTION NO.
                          Plaintiffs                     :
           v.                                            :
                                                         :
                                                         :
UNITED STATES OF AMERICA                                 :
                                                         :
                          Defendant                      :       ARBITRATION CASE

                                       CIVIL ACTION COMPLAINT
I.         PARTIES

           1.      Plaintiffs, Lou Broder and Paula Broder, h/w, are adult individuals and citizens of

the Commonwealth of Pennsylvania, residing therein at 77 Banbury Court, Holland,

Pennsylvania 18966.

           2.      Defendant is the United States of America.

     II.        JURISDICTION AND VENUE

           3.      Jurisdiction is conferred upon this Court by virtue of 39 U.S.C. § 409.

           4.      Venue is proper in this district pursuant to 28 U.S.C. § 1391 because a substantial

part of the events or omissions giving rise to the within claims occurred within the District.

           5.      Plaintiff timely filed an administrative claim with the United States Postal Service

on or about July 2, 2020.

           6.      More than six months have passed since the filing of the administrative claim, but

to date, that agency has not taken action on the claim.

           7.      Therefore, pursuant to 28 U.S.C. § 2675(a), Plaintiff may deem the claim denied

and file the instant lawsuit.




                                                    1
               Case 2:22-cv-00037-MMB Document 1 Filed 01/06/22 Page 2 of 7




   III.         STATEMENT OF CLAIMS

          8.      At all times relevant hereto, Defendant, United States of America, acted by and

through its agents, servants, employees, workmen and/or other representatives, who were, in turn,

acting within the course and scope of their employment, agency and/or service for the same.

          9.      At all times material herein, Defendant, by and through its trustees, directors,

agents, servants, workmen, employees and/or other representatives, owned, operated, controlled,

leased, inspected, possessed, managed and/or maintained the premises located at 1050 Street Road,

Southampton, Pennsylvania 18966.

          10.     On or about December 24, 2018, and for a long time prior thereto, it was the duty

of the United States of America, by and through its trustees, directors, agents, servants, workmen,

employees and/or other representatives, to keep and maintain the aforesaid premises located at

1050 Street Road, Southampton, Pennsylvania 18966 in a reasonably safe condition for persons

lawfully upon the premises, such as Plaintiff, Lou Broder.

          11.     On or about December 24, 2018, Plaintiff Lou Broder was an invitee at the

Defendant’s aforesaid premises located at 1050 Street Road, Southampton, Pennsylvania 18966.

                                       COUNT I
                       LOU BRODER v. UNITED STATES OF AMERICA
                          NEGLIGENCE – PREMISES LIABILITY

          12.     Plaintiff hereby incorporates by reference paragraphs one (1) through eleven (11)

of the within Complaint as though the same were fully set forth at length herein.

          13.     On or about December 24, 2018, Plaintiff, Lou Broder, was lawfully on the

aforesaid premises located at 1050 Street Road, Southampton, Pennsylvania 18966. Plaintiff was

walking from his P.O. Box to the vendor window to purchase stamps when, suddenly and

without warning, and as a direct result of a defective and/or dangerous condition of the premises,



                                                  2
           Case 2:22-cv-00037-MMB Document 1 Filed 01/06/22 Page 3 of 7




Plaintiff tripped on a floor runner that was rolled up/not flush with the floor, thereby causing him

to fall and sustain various severe and permanent bodily injuries and losses as more fully set forth

below.

         14.   The incident described in the preceding paragraphs of the within Complaint was

caused by the negligence and carelessness of the Defendant, United States of America, by and

through its agents, servants, workmen, employees and/or other representatives acting within the

course and scope of the employment, agency and/or service for the same, generally and in the

following particular respects:

               (a)     carelessly and negligently allowing the aforesaid premises to be kept in a
                       dangerous condition for a prolonged period of time so as to cause injury to
                       the Plaintiff, more specifically failing to timely repair or remove the floor
                       runner that posed a tripping hazard;

               (b)     carelessly and negligently failing to inspect the premises in such a manner
                       so as to identify defects and prevent potential bodily injuries to third parties,
                       such as the Plaintiff;

               (c)     carelessly and negligently failing to recognize the floor runner that existed
                       in a dangerous condition on Defendant’s aforesaid premises, which caused
                       Plaintiff’s fall, and to timely remedy same;

               (d)     carelessly and negligently creating and allowing a dangerous condition to
                       exist by failing to provide proper safety warnings to individuals lawfully on
                       the Defendant’s premises;

               (e)     failing to ensure that the premises could be traversed in a manner which
                       would not cause a danger to potential third parties, such as the Plaintiff;

               (f)     failing to adequately and timely repair defects to the aforesaid premises;

               (g)     failing to correct a dangerous and hazardous condition of which the
                       Defendant was aware or should have been aware;

               (h)     failing to warn people lawfully upon the Defendant’s premises, such as the
                       Plaintiff, of the aforesaid dangerous condition; and

               (i)     otherwise failing to provide a safe place for persons lawfully upon the
                       Defendant’s premises, such as the Plaintiff, to travel.

                                                  3
          Case 2:22-cv-00037-MMB Document 1 Filed 01/06/22 Page 4 of 7




        15.     Plaintiff, Lou Broder, in no manner contributed to his own injuries, which were the

direct and proximate result of the Defendant’s own negligence and/or carelessness.

        16.     As a result of the aforesaid negligence of the Defendant, Plaintiff, Lou Broder,

suffered severe injuries, including, but not limited to, right shoulder ligament tears, as well as well

as aches, pains, mental anxiety and anguish, and a severe shock to his entire nervous system.

Plaintiff has in the past and will in the future undergo severe pain and suffering as a result of which

he has been in the past and will in the future be unable to engage in his usual activities, all to his

great detriment and loss.

        17.     As a result of the aforesaid negligence of the Defendant, Plaintiff has been and will

be obliged to receive and undergo medical attention and care and to expend various sums for the

treatment of his injuries and incur such expenditures for an indefinite time in the future.

        18.     As a further result of the aforesaid accident, Plaintiff, Lou Broder, has in the past

and may in the future suffer a loss of his earnings and/or earning power, and he may incur such

loss for an indefinite period in the future.

        19.     Further, by reason of the aforesaid occurrence, Plaintiff has and/or may hereinafter

incur other financial expenses all in an effort to treat and cure himself of the injuries sustained in

the aforesaid accident.

        20.     As a further result of the aforesaid negligence of the Defendant, Plaintiff has or may

have suffered injuries resulting in the serious and/or permanent loss of use of a bodily function,

dismemberment, and/or scarring, which may be in full or part cosmetic disfigurements which are

or may be permanent, irreparable and severe.




                                                  4
           Case 2:22-cv-00037-MMB Document 1 Filed 01/06/22 Page 5 of 7




       21.     As a further result of the aforesaid accident, Plaintiff has suffered a loss of the

enjoyment of his usual duties, avocations, life's pleasures and activities, and the shortening of his

life expectancy, all to his great detriment and loss.

       22.     As a further result of the aforesaid accident, Plaintiff has suffered great and

unremitting physical pain, suffering and mental anguish, all of which may continue in the future.

       WHEREFORE, Plaintiff, Lou Broder, demands judgment against Defendant, United States

of America, in an amount not in excess of One Hundred Fifty Thousand Dollars ($150,000.00).

                                    COUNT II
                   PAULA BRODER v. UNITED STATES OF AMERICA
                             LOSS OF CONSORTIUM

       23.     Plaintiff hereby incorporates by reference paragraphs one (1) through twenty-two

(22) of the within Complaint as though the same were fully set forth at length herein.

       24.     As a further result of the incident described herein, Plaintiff, Paula Broder, has

suffered the loss of earnings, society, consortium and services of her husband, Plaintiff Lou

Broder, to which she is legally entitled

       25.     As a further result of the incident described herein, Plaintiff, Paula Broder, has been

or will be obliged to expend various sums of money and to incur various expenses for the treatment

of the injuries which her husband has suffered by reason of the Defendant’s negligence, and she

may be obliged to continue to expend such sum or incur such expenditures for an indefinite period

of time.




                                                  5
         Case 2:22-cv-00037-MMB Document 1 Filed 01/06/22 Page 6 of 7




       WHEREFORE, Plaintiff, Paula Broder, demands judgment against Defendant, United

States of America, in amount not in excess of One Hundred Fifty Thousand Dollars ($150,000.00).

                                                   Respectfully,

                                                   SWARTZ CULLETON PC


                                           By:     /s/ Brandon A. Swartz__
                                                   Brandon A. Swartz, Esquire
                                                   Matthew E. Gallagher, Esquire
                                                   547 E. Washington Avenue
                                                   Newtown, PA 18940
                                                   T: (215) 550-6553
                                                   F: (215) 550-6557
                                                   Attorneys for Plaintiffs,
                                                   Lou Broder and Paula Broder, h/w
Date: January 6, 2022




                                              6
  Case 2:22-cv-00037-MMB Document 1 Filed 01/06/22 Page 7 of 7




                                      \i IitU['t(_A1't()N



  I.                             hereby state that I arn the Plaintiff in this action ancl

verify that the statements made in the foregoing Civil Action Complaint are true and

correct to the best of my knowledge, information and        belief. The undersigned
understands that the statements herein are made subject to the penalties     of l8   Pa. C,S

4904 relating to unsworn falsification to autlrorities.
